Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 1 of 18 PageID# 10617
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 2 of 18 PageID# 10618
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 3 of 18 PageID# 10619
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 4 of 18 PageID# 10620
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 5 of 18 PageID# 10621
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 6 of 18 PageID# 10622
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 7 of 18 PageID# 10623
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 8 of 18 PageID# 10624
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 9 of 18 PageID# 10625
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 10 of 18 PageID# 10626
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 11 of 18 PageID# 10627
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 12 of 18 PageID# 10628
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 13 of 18 PageID# 10629
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 14 of 18 PageID# 10630
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 15 of 18 PageID# 10631
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 16 of 18 PageID# 10632
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 17 of 18 PageID# 10633
Case 3:10-cr-00170-HEH Document 995 Filed 05/21/12 Page 18 of 18 PageID# 10634
